Case 1:17-CV-03144-A.]N-SN Document 203 Filed 01/04/19 Page 1 of 8

UNITED STATES DISTRICT COL`RT
SOUTHERN DISTRICT OF NEW YORK

_____________________________________ X
JUSTIN GOLDMAN, f No. 17 Civ. 3144 (AJN) (sN)
Plaintiff,
ECF Case
V.
STIPULATED
BREITBART NEws NETWORK. LLC; HEAVY, CONFH’ENTIALITY
. . . AGREEMENT ANI) [PRoPosED]
INC., TIME, INC., YAHoo, 1Nc., Vox MEDIA, PROTECTWE ORDER
INC.; GANNEIT cOMPANY, INC.; HERALD
MEDIA, iNc.; BosroN GLOBE MED;A
PARTNERS, LLC; NEW ENGLAND sPoRTs
NETWORK, INC.,
Defendants.
_____________________________________ X

WHER_EAS, all the remaining parties to this action (collectively, the “parties” and
individually a “party”) request that this Court issue a protective order pursuant to Federal Rule of
Civil Procedure 26(<:) to protect the confidentiality of personal and/or nonpublic and
competitively sensitive information that they may need to disclose in connection with discovery
in this action,

NOW THEREFORE, the parties, through their attorneys, agree to the following terms
and request that the Court so-order this stipulation to enter a confidentiality order (the
“Protective Order”) governing this action:

I. DISCOVERY PHASE

A. If a party or an attorney for a party has a good faith belief that certain documents

or other materials (including digital information) subject to disclosure pursuant to a discovery or

other request, are confidential and should not be disclosed other than in connection with this

Case 1:17-CV-03144-A.]N-SN Document 203 Filed 01/04/19 Page 2 of 8

action and pursuant to this Protective Order, the party or attorney shall mark each such document
or other material as “CONFIDENTIAL.”

B. 'I`hese obligations of confidentiality and nondisclosure shall bind the parties
through all proceedings in this action, including all appeals, arbitrations, and proceedings upon
remand, and shall survive the conclusion of this action until otherwise ordered by the Court, or
until the parties to this action stipulate that designated Confidential information can be disclosed.

C. Doeuments provided in this litigation may be designated by the producing person
or by any party by marking each page of the documents so designated with a stamp indicating
that the information is “CONFIDENTIAL.” In lieu of marking the original of a document, if the
original is not provided, the designating party may mark the copies that are provided Originals
shall be preserved f`or inspection. Electronic documents and electronically stored information
produced natively may be designated by the producing person or by any party by labeling the file
name as “CONFIDENTIAL.” If a hard copy of a document produced nativer is used in the case
as an exhibit or otherwise the party using it shall mark each page as “CONFIDENTIAL.” In
addition, documents may be designated “Confidential” by other means that clearly communicate
that designation

D. If a party or an attorney for a party disputes whether a document or other material
should be marked “CONFIDENTIAL,” the parties and/or attorneys shall attempt to resolve the
dispute between themselves If they are unsuccessful, the party or attorney challenging the
“CONFIDENTIAL” designation shall do so by filing an appropriate motion.

E. No party or attorney or other person subject to this Protective Order shall
distri bute, transmit, or otherwise divulge any document or other material which is marked

“CONFIDENTIAL,” or the contents thereof, except in accordance with this Protective Order.

Case 1:17-CV-03144-A.]N-SN Document 203 Filed 01/04/19 Page 3 of 8

Court personnel are not subject to this Protective Order while engaged in the performance of
their official duties.

F. Any document or other material which is marked “CONFII)ENTIAL,"' or the
contents thereof, may be used by a party, or a party’s attemey, expert witness, consultant, or
other person to whom disclosure is made, only for the purpose of this action, Nothing contained
in this Protective Order shall prevent the use of any document or other material which is marked
“CONFIDENTIAL,” or the contents thereof, at any discovery deposition taken in this action,

G. information disclosed at (a) the deposition of a party or one of its present or
former officers, directors, employees, consultants, representatives, or independent experts
retained by counsel for the purpose of this litigation, or (b) the deposition of a nonparty may be
designated by any party as CONFIDENTIAL by indicating on the record at the deposition that
the testimony is CONFIDENTIAL and is subject to the provisions of this Order.

H. Any party also may designate information disclosed at a deposition, hearing or
trial as CON“FIDENTIAL by notifying all parties in writing not later than 15 days of receipt of
the final transcript of the specific pages and lines of the transcript that should be treated as
CONFIDEN'I`IAL thereafter. All deposition transcripts shall be treated as CONFIDENTIAL for
a period of 15 days after initial receipt of the final transcript ln the event that expedited
disclosure may be required by a party due to an impending deadline regarding preparation of any
filing or submission that requires consideration of the CONFIDENTIAL information in question,
the concerned party shall negotiate in good faith for a shortened expiration period. Any portions
so designated shall thereafter be treated in accordance with the terms of this Order.

l. Counsel for a party or a nonparty witness shall have the right to exclude from

depositions any person who is not authorized to receive any document or other material which is

Case 1:17-CV-03144-A.]N-SN Document 203 Filed 01/04/19 Page 4 of 8

marked “CONFIDENTIAL pursuant to this Protective Order, but such right of exclusion shall
be applicable only during periods of examination or testimony during which Confidential
material or infonnation is being used or discussed

J. To the extent possible, the court reporter shall segregate into separate transcripts
information designated as Protected Information with blank, consecutively numbered pages
being provided in a non-designated main transcript. The separate transcript containing Protected
Inforrnation shall have page numbers that correspond to the blank pages in the main transcript.

K. If a party or attemey wishes to disclose any document or other material which is
n marked “CONFIDENTIAL," or the contents thereof, to any person actively engaged in working
on this action (e.g., expert witness, paralegal, associate, consultant), the person making the
disclosure shall do the following:

l. Provide a copy of this Protective Order to the person to whom disclosure is made;

2. Inform the person to whom disclosure is made that she or he is bound by this
Protective Order; and

3. instruct the person to whom disclosure is made to return any document or other
material which is marked “CONFIDENTIAL," at the conclusion of the case, including notes or
memoranda made from “CONFIDENTIAL” material.

L. At the conclusion of the action, the parties or their attorneys must gather the
“CONFIDENTIAL” materials, copies thereof, and related notes and memoranda that have been
disclosed to them pursuant to this protective order, and either destroy them or return them to the
party or attorney who originally disclosed them, with a certificate of compliance with the terms

of this Protective Order.

Case 1:17-CV-03144-A.]N-SN Document 203 Filed 01/04/19 Page 5 of 8

M. The inadvertent or unintentional disclosure of the documents and things produced
during the course of this litigation within the scope of Paragraph I.A by any party, or their
agents, representatives, consultants or experts, regardless of whether the material was so
designated at the time of disclosure shall not be deemed a waiver in whole or in part of such
party’s claim of protection, either as to the specific information disclosed or as to any other
information relating thereto or on the same or related subject matter. Upon discovery that a party
has inadvertently disclosed any documents and things produced during the course of this
litigation within the scope of Paragraph I.A, the disclosing party shall have three (3) days from
the date of discovery to designate the inadvertently produced material via email or first class
mail as “Confidential Information" in accordance with the provisions set forth herein. Any
inadvertently-disclosed material so designated shall be subject to the same protections under this
Protective Order as if the material were so designated prior to the inadvertent disclosure.

The receiving party shall promptly, within (3) days of discovery of any
inadvertent disclosure of the documents and things produced during the course of this litigation
within the scope ofParagraph I.A, inform the producing party via entail or first class of the
information contained therein or any violation of this Protective Order that comes to its attention

N. ln addition to Federal Rule of Civil Procedure 26(b)(5)(B) and Federa| Rule of
Evidence 502, the parties agree that the inadvertent production or disclosure of documents or
information subject to the anomey-client privilege, work product immunity, or any other
applicable privilege or immunity from disclosure shall not constitute a waiver of, nor a prejudice
to, any claim that such or related material is privileged or protected by the work product
immunity or any other applicable privilege, provided that the producing party promptly notifies

the receiving party in writing after discovery of such inadvertent production or disclosure Such

Case 1:17-CV-03144-A.]N-SN Document 203 Filed 01/04/19 Page 6 of 8

inadvertently»produced or disclosed documents or information, including all copies thereof, shall
be returned to the producing party or destroyed immediately upon request The receiving party
shall also immediately destroy any notes or other writing or recordings that summarize, reflect1
or discuss the content of such privileged information No use shall be made of such documents or
information in discovery, in deposition, in court filings or at trial. Nor shall such documents or
information be shown to anyone, after a request for their retum, who is not entitled to have
access to them. The receiving party may move the Court for an Order compelling production of
any inadvertently produced or disclosed document or information, but the motion shall not assert
as a ground for production the fact of the inadvertent production or disclosure, nor shall the
motion disclose, summarize, characterize, or otherwise use the content of` the inadvertently
produced document or information (beyond any non»privileged information sufficient to provide

the Court with necessary context to resolve the motion)

Il. POST-DISCOVERY PHASE

A. If any party or attorney wishes to file, or use as an exhibit or as evidence at a
hearing or trial, any “CONF[DENTIAL” document or matcrial, she or he must provide
reasonable notice to the party that produced the document or material The parties and/or
attorneys shall then attempt to resolve the matter of continued confidentiality by either (a)
removing the “CONFIDENTIAL” marking, or (b) creating a mutually acceptable redacted
version that suffices for purposes of the case. If an amicable resolution proves unsuccessful, the
parties and/or attorneys may present the issue to the court for resolution. The proponent of
continued confidentiality will have the burden of persuasion that the document or material

should be withheld from the public record in accordance with controlling precedent See, e.g_,

Case 1:17-CV-03144-A.]N-SN Document 203 Filed 01/04/19 Page 7 of 8

Press-Enterprise Co. v. Super. Ct., 478 U.S. l, 8-9 (1986); Lugosch v. Pyramid Co. of
Onondaga, 435 F.3d llO, 120 (Zd Cir. 2006).
III. SURVIVAL OF AGREEMENT

A. This Protective Order shall survive the termination of the litigation and will
continue to be binding upon all persons to whom “CONFIDENTIAL” material is produced or
disclosed

B. With the Court’s permission, this Court will retain jurisdiction over all persons
subject to this Protective Order to the extent necessary to enforce any obligations arising

hereunder or to impose sanctions for any contempt thereof.

SO STIPULATED AND AGREED.

NORWICK & SCI-IAD WINS'I`ON & STRAWN LLP

`. ii f 15 ,l ."; q .-",J
By: y‘%»jv’\,\i_;a -_41` __*¥; By; jr :J‘Ef_.iff § //"; -é/AM%
di_irfer A. Golinv£ux -

Kenneth P. Norwick

 

1 10 Easr 59‘*1 street itrnrew T. Fogna

New York, NY 10022 101 California Street

Tel.: (212) 233-1660 San Francisco, CA 94l l l

ken@norwickschad.com Tel.: (415) 591 -1400
jgolinveaux@winston.com

C ounsel for Plaz`mr]_‘f afoglia@winston.corn

Counselfor Defendant Oarh Holdings Irrc.

BALLARD SPAHR LLP

BFM
obert Penchina

1675 Broadway, 19th Floor

New Yor'l<, NY 10019

Tel.: (212) 850-6109
penchinar@ballardspahr.com

Counsel]?)r Dejéndant Gamrett Company, Inc.

Case 1:17-CV-03144-A.]N-SN Document 203 Filed 01/04/19 Page 8 of 8

Dated: _, 2019

DAVIS WRIGHT TREMAINE LLP

/,'-
B: l :2_|;? 2 1 }'/é?" w 222
y Lacy H. 0 ce`,}lll v -m //__`

Eric J. Feder
1251 Avenue of the Americas, ZISt Floor
New York, NY 10020
Tel: 212-489-8230
lancel<oonce@dwt.com
ericfeder@dwt.com
Counselj?)r Defendant Tr'me Inc.

LEBOWITZ LAW OFFICES LLC

rc A. Lebo
Keith Getz
747 third Avenue, 23rd inner
Tel.: (212) 682-6818
marc@lebolaw.com

Counselfor Dejendant Heavy, Inc.

Dated: __, 2019

SO ORDERED.

 

Hon. Alison J. Nathan
United States District Judge

